                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

                                      MINUTE SHEET

UNITED STATES OF AMERICA                           Date: August 8, 2019

vs.                                                Case No. 19-3028-01-CR-S-MDH

CHRISTINA GAUGER

Honorable Douglas Harpool, presiding at Springfield, Missouri

Nature of Hearing: Change of Plea

Time Commenced: 11:38 a.m.                 Time Terminated: 1:11 p.m.

                                      APPEARANCES

Plaintiff: Byron Black, AUSA               Defendant: Dee Wampler

Proceedings: Parties appear as indicated above, dft in person. Dft sworn. Dft is advised
of rights and answers questions propounded by the Court. Dft has signed the Stipulation
of Facts but has not read the document. Hearing is continued to 1:00 p.m. to give the dft
time to read the Stipulation of Facts. 12:00 p.m. Court in recess. 1:01 p.m. Court in
session. Dft has advised the Court she has read the Stipulation of Facts and pleads guilty to
Counts 1, 2, 8, 9, 16, and 17 of the Superseding Indictment. Court finds adequate factual
basis for the plea of guilty and accepts the plea. Gov’t oral mtn to file the Stipulation under
seal is granted. Presentence Investigation ordered. Dft continued in custody.


Courtroom Deputy: Linda Howard
Court Reporter: Jeannine Rankin
USPPTS: Tracy Cowin




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